
576 So.2d 1378 (1991)
M.R.G., a Child, Appellant,
v.
STATE of Florida, Appellee.
No. 90-02000.
District Court of Appeal of Florida, Second District.
April 5, 1991.
James Marion Moorman, Public Defender, and Kevin Briggs, Asst. Public Defender, Bartow, for appellant.
Robert A. Butterworth, Atty. Gen., Tallahassee, and Peggy A. Quince, Asst. Atty. Gen., Tampa, for appellee.
PER CURIAM.
Appellant M.R.G. seeks review of a circuit court order adjudicating him delinquent and placing him on supervised community control. It is undisputed that, through no fault of appellant, a transcript of the adjudicatory hearing cannot be obtained nor can an adequate record be reconstructed. Accordingly we have no alternative but to remand this case to the circuit court with instructions to conduct a de novo hearing. Delap v. State, 350 So.2d 462 (Fla. 1977).
We disagree with the state's contention that this matter has become moot due to the fact appellant's term of community control has expired.
Reversed.
SCHOONOVER, C.J., and CAMPBELL and THREADGILL, JJ., concur.
